                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

MARKLE INTERESTS, LLC                                             CIVIL ACTION

v.                                                           NO. 13-234
                                                             c/w 13-362 and
                                                                 13-413
                                                   (Pertains to all cases)

UNITED STATES                                                     SECTION "F"
FISH AND WILDLIFE SERVICE, ET AL.


                                ORDER AND REASONS

      These        consolidated    proceedings     ask     whether    a   federal

government agency's inclusion of a privately-owned tree farm in its

final designation of critical habitat for the dusky gopher frog,

pursuant      to    the    Endangered   Species     Act,    was    arbitrary     or

capricious.         Before the Court are         11 motions, including nine

cross-motions for summary judgment:

      (1) Weyerhaeuser Company's motion for summary judgment,
      (2) the federal defendants' cross-motion, and (3) the
      intervenor defendants' cross-motion; (4) Markle Interests
      LLC's motion for summary judgment, (5) the federal
      defendants' cross-motion, and (6) the intervenor
      defendants' cross-motion; (7) the Poitevent Landowners'
      motion for summary judgment; (8) the federal defendants'
      cross-motion, and (9) the intervenor defendants' cross-
      motion.

Additionally before the Court are two motions to strike extra-

record evidence submitted by Poitevent Landowners, one filed by

federal defendants and one by intervenor defendants.                      For the

reasons the follow, the federal and intervenor defendants' motions

to   strike    extra-record       evidence   are   GRANTED;   the    plaintiffs'

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motions for summary judgment are GRANTED in part (insofar as they

have standing) and DENIED in part; and, finally, the defendants'

motions   are    DENIED   in   part    (insofar   as   defendants   challenge

plaintiffs' standing) and GRANTED in part.

                                 Background

     Plaintiffs in these consolidated cases -- landowners and a

lessee of a tree farm in Louisiana -- challenge the United States

Fish and Wildlife Service's (FWS) final rule designating 1,544

acres of a privately-owned timber farm in St. Tammany Parish as

critical habitat that is essential for the conservation of the

dusky gopher frog, an endangered species.

     Only about 100 adult dusky gopher frogs remain in the wild.

The frog, listed as endangered in 2001, is now located only in

Mississippi; it does not presently occupy the plaintiffs' tree farm

and was last sighted there in the 1960s.                  Nevertheless, FWS

included certain acreage of the plaintiffs' tree farm in its rule

designating critical habitat for the frog, finding this land

essential to conserving the dusky gopher frog.               A determination

plaintiffs insist is arbitrary.          To better understand the factual

and procedural background of this challenge to federal agency

action,   it    is   helpful   first   to   consider   the   context   of   the

administrative framework germane to the present controversy.




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                          The Endangered Species Act

     Due to the alarming trend toward species extinction "as a

consequence      of    economic   growth      and    development    untempered    by

adequate concern and conservation," Congress enacted the Endangered

Species   Act,    16    U.S.C.    §   1531,    et.    seq.,   (ESA)   to    conserve

endangered and threatened species and the ecosystems on which they

depend.   16 U.S.C. § 1531(a), (b).             By defining "conservation" as

"the use of all methods and procedures which are necessary to bring

any endangered or threatened species to the point at which the

measures provided [by the ESA] are no longer necessary," (16 U.S.C.

§ 1532(3)), the Act illuminates that its objective is not only "to

enable listed species ... to survive, but [also] to recover from

their endangered or threatened status."                   Sierra Club v. FWS, 245

F.3d 434, 438 (5th Cir. 2001); Tenn. Valley Authority v. Hill, 437

U.S. 153, 184 (1978)("The plain intent of Congress in enacting this

statute   was     to    halt   and    reverse       the    trend   toward    species

extinction, whatever the cost.").

     The U.S. Secretary of the Department of Interior is charged

with administering the Act; the Secretary delegates authority to

the U.S. Fish and Wildlife Service.1 To achieve the Act's survival

and recovery objectives, FWS is obligated to utilize enumerated


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      Technically, administration responsibilities are divided
between the Department of Interior and the Department of Commerce.
16 U.S.C. § 1533(a)(2). The Secretaries of these agencies then
delegated their authority to the FWS or National Marine Fisheries
Service.

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criteria to promulgate regulations that list species that are

"threatened"    or    "endangered".      16   U.S.C.   §   1533    (stating,   in

mandatory    terms,     the   requirement     to   determine      threatened    or

endangered species status: "The Secretary shall determine....").

A species is listed as "endangered" if it is "in danger of

extinction throughout all or a significant portion of its range."

16 U.S.C. § 1532(6). Listing triggers statutory protections for the

species. See, e.g., 16 U.S.C. §, 1538(a) (setting forth prohibited

acts, such as "taking" (§ 1532(19)) listed animals).

     Listing   also     triggers   FWS's      statutory    duty    to   designate

critical habitat; such designation being another tool in FWS's

arsenal to accomplish the Act's species survival and recovery

objectives.     See 16 U.S.C. § 1533(a)(3)(A)("The Secretary, by

regulation promulgated in accordance with subsection (b) of this

section and to the maximum extent prudent and determinable ... (i)

shall    concurrently    with   making    a   [listing]    determination       ...

designate any habitat of such species....").                Like its listing

duty, FWS's habitat designation duty is mandatory;2 the designation


     2
      Sierra Club v. FWS, 245 F.3d 434, 438 (5th Cir. 2001)("Once a
species has been listed as endangered or threatened, the ESA states
that the Secretary 'shall' designate a critical habitat 'to the
maximum extent prudent or determinable.' The ESA leaves to the
Secretary the task of defining 'prudent' and 'determinable.'").
     It is incumbent on the Secretary -- "to the maximum extent
prudent and determinable" -- to designate critical habitat
concurrently with listing a species as endangered, 16 U.S.C. §
1533(a)(3)(A)(i), but the Secretary's failure to make a concurrent
designation, for whatever reason, does not preclude later
designation. See 16 U.S.C. § 1532(a)(3)(B)("Critical habitat may

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must be based on "the best scientific data available ... after

taking into consideration the economic impact, the impact on

national security, and any other relevant impact."           16 U.S.C. §

1533(b)(2).   After weighing the impacts of designation, FWS may,

however,   exclude   an   area   from   critical   habitat    unless   it

"determines ... that the failure to designate such area as critical

habitat will result in the extinction of the species concerned."

Id.

      Notably, in defining "critical habitat" for an endangered

species, the ESA differentiates between habitat that is "occupied"

and habitat that is "unoccupied" at the time of listing:

      (5)(A) The term "critical habitat" for a threatened or
      endangered species means–

           (i) the specific areas within the geographical area
      occupied by the species, at the time it is listed in
      accordance with the provisions of section 1533 of this
      title, on which are found those physical or biological
      features (I) essential to the conservation of the species
      and   (II)   which   may   require   special   management
      considerations or protection; and
           (ii) specific areas outside the geographical area
      occupied by the species at the time it is listed in
      accordance with the provisions of section 1533 of this
      title, upon a determination by the Secretary that such
      areas are essential for the conservation of the species.




be established for those species now listed as threatened or
endangered species for which no critical habitat has heretofore
been established...."); see also 16 U.S.C. § 1533(b)(6)(C)(ii)(if
"critical habitat of [listed] species is not ... determinable [at
the time of listing], the Secretary ... may extend the one-year
period specified in paragraph (A) by not more than one additional
year....") and 50 C.F.R. § 424.17(b)(2).

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16 U.S.C. § 1532(5)(A).              Thus, in so differentiating, by its

express    terms,    the    Act   contemplates           the   designation     of   both

"occupied" and "unoccupied" critical habitat. FWS may designate as

critical     occupied      habitat    that     contains        certain   physical     or

biological features called "primary constituent elements", or

"PCEs".3     50 C.F.R. § 424.12(b).               FWS may designate as critical

unoccupied habitat so long as it determines it is "essential for

the conservation of the species" and "only when a designation

limited to its present range would be inadequate to ensure the

conservation of the species."           50 C.F.R. § 424.12(e).

      Once designated, critical habitat is protected from harm if

and   when   the    ESA's    federal    agency       consultation        mechanism   is

triggered:     federal agencies must consult with FWS on any actions

"authorized, funded, or carried out by" the agency to ensure that

their     actions   do   "not     result     in    the    destruction     or   adverse

modification of habitat...."           16 U.S.C. § 1536(a)(2).4              If FWS or


      3
      PCEs are those "physical and biological features that, when
laid out in the appropriate quantity and spatial arrangement to
provide for a species' life-history processes, are essential to the
conservation of the species." 77 Fed. Reg. 35118, 35131 (2012).
      4
      Destruction or modification of critical habitat is defined,
by regulation, as "a direct or indirect alteration that appreciably
diminishes the value of critical habitat for both the survival and
recovery of a listed species." 50 C.F.R. § 402.02. However, the
U.S. Court of Appeal for the Fifth Circuit struck down, as facially
invalid, this regulatory definition of the destruction/adverse
modification standard. Sierra Club, 245 F.3d at 442-43 (observing
that the ESA distinguishes between "conservation" and "survival"
and "[r]equiring consultation only where an action affects the
value of critical habitat to both the recovery and survival of a

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the consulting federal agency determines that a contemplated action

"may affect ... critical habitat", the agency and FWS must engage

in "formal" consultation. 50 C.F.R. § 402.14(a). If FWS finds that

a contemplated agency action, such as the issuance of a permit, is

likely to adversely modify critical habitat, FWS must suggest

reasonable and prudent alternatives that the consulting agency

could take to avoid adverse modification. 50 C.F.R. § 402.14(h)(3).

"Reasonable and prudent alternatives" must be "economically and

technologically feasible." 50 C.F.R. § 402.02. Thus, if a private

party's action has no federal nexus (if it is not authorized,

funded, or carried out by a federal agency), no affirmative

obligations are triggered by the critical habitat designation.   In

other words, absent a federal nexus, FWS cannot compel a private

landowner to make changes to restore his designated property into

optimal habitat.

                       The Dusky Gopher Frog

     The dusky gopher frog (Rana Sevosa) is a darkly-colored,

moderately-sized frog with warts covering its back and dusky spots

on its belly.      It is a terrestrial amphibian endemic to the

longleaf pine ecosystem.    The frogs "spend most of their lives

underground5 in forested habitat consisting of fire-maintained,


species imposes a higher threshold than the statutory language
permits.")(emphasis in original).
     5
      "Underground retreats include gopher tortoise burrows, small
mammal burrows, stump holes, and root mounds of fallen trees." 77

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open-canopied, pine woodlands historically dominated by longleaf

pine."     77 Fed. Reg. at 35129 - 35131.            They travel to small,

isolated    ephemeral   ponds6   to       breed,   then   return    to   their

subterranean forested environment, followed by their offspring that

survive to metamorphose into frogs.            Amphibians like the dusky

gopher frog need to maintain moist skin for respiration and

osmoregulation.    To this end, the areas connecting their wetland

and terrestrial habitats must be protected to provide cover and

moisture during migration.7

     The risk for its extinction is high.             Only about 100 adult

dusky gopher frogs are left in the wild.           They are located in three

sites in Harrison and Jackson Counties in southern Mississippi;

only one of these sites regularly shows reproduction.              The frog is

primarily threatened by habitat loss and disease. Due to its small

numbers, it is also highly susceptible to genetic isolation,

inbreeding, and random demographic or human related events.




Fed. Reg. at 35130.
     6
      Ephemeral ponds are isolated wetlands that dry periodically
and flood seasonally; because they are short-lived, predatory fish
are lacking.
     7
      "Optimal habitat is created when management includes frequent
fires, which support a diverse ground cover of herbaceous plants,
both in the uplands and in the breeding ponds." Id. at 35129.
Frequent fires are also critical to maintaining the prey base for
the carnivorous juvenile and adult dusky gopher frogs.       Id. at
35130.

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           Listing and Proposed Critical Habitat Designation

      In December 2001, in response to litigation commenced by the

Center for Biological Diversity, FWS listed the dusky gopher frog8

as   an    endangered    species.    FWS    determined     that   the   frog    was

endangered due to its low population size combined with ongoing

threats such as habitat destruction, degradation resulting from

urbanization,     and     associated       vulnerability     to   environmental

stressors such as drought.          No critical habitat was designated at

that time.     Nearly six years later, litigation again prompted FWS

to action: in resolving, through settlement, the litigation to

compel designation, in 2011 FWS published a proposed rule to

designate critical habitat; the proposed rule included unoccupied

and occupied areas in Mississippi only.9

      An independent peer review of the proposed rule followed.

Every peer reviewer10 concluded that the amount of habitat already

proposed,     which     included    occupied    and   unoccupied        areas    in


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      At that time, and until 2012, the dusky gopher frog was known
as the Mississippi gopher frog.
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      FWS determined that the frog's optimal habitat includes three
primary constituent elements (PCEs): (1) small, isolated, ephemeral
ponds for breeding; (2) upland pine forested habitat that has an
open canopy; and (3) upland connectivity habitat. FWS determined
that this habitat contains the "physical and biological features
necessary to accommodate breeding, growth, and other normal
behaviors of the [frog] and to promote genetic flow within the
species."
      10
      These six individuals had scientific expertise and were
familiar with the species and the geographical region, as well as
conservation biology principles.

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Mississippi, was insufficient for conservation of the species.

Several peer reviewers suggested that FWS consider other locations

within the frog's historical range. One peer reviewer in particular

suggested the area of dispute here, identified as Unit 1 by the

final rule: although the dusky gopher frog does not presently

occupy this land and had not been seen on the land since the 1960s,

Unit 1 contained at least two historical breeding sites for the

frog.         Based on the comments, FWS re-analyzed the "current and

historic data for the species, including data from Alabama and

Louisiana."         FWS    identified    additional     critical   habitat    in

Mississippi and Louisiana,11 and included those areas within the

revised proposed rule published for comment on September 27, 2011.

        Before finalizing the rule, FWS considered the potential

economic impacts of the designation.               The final economic analysis

(EA) quantified impacts that may occur in the 20 years following

designation, analyzing such economic impacts of designating Unit 1

based         on   the    following   three    hypothetical   scenarios:     (1)

development         occurring    in     Unit   1   would   avoid   impacts    to

jurisdictional wetlands and, thus, would not trigger ESA Section 7

consultation requirements; (2) development occurring in Unit 1

would require a permit from the Army Corps of Engineers due to

potential impacts to jurisdictional wetlands, which would trigger

ESA Section 7 consultation between the Corps and FWS, and FWS would


        11
             FWS was not able to identify critical habitat in Alabama.

                                          10
work with landowners to keep 40% of the unit for development and

60% managed for the frog's conservation ("present value incremental

impacts of critical habitat designation due to the lost option for

developing 60 percent of Unit 1 lands are $20.4 million"); and (3)

development occurring would require a federal permit, triggering

ESA Section 7 consultation, and FWS determines that no development

can occur in the unit ("present value impacts of the lost option

for development in 100 percent of the unit are $33.9 million").12

Because the EA "did not identify any disproportionate costs that

are likely to result from the designation[,] the Secretary [did]

not exercis[e] his discretion to exclude any areas from this

designation of critical habitat for the dusky gopher frog based on

economic impacts."

            The 6/12/12 Final Rule Designating Critical Habitat

       On June 12, 2012 FWS issued its final rule designating

critical habitat for the dusky gopher frog.             77 Fed. Reg. 25118

(June 12, 2012). The habitat designation covers 6,477 acres in two

states, Mississippi and Louisiana, including approximately 1,544

acres of forested land in St. Tammany Parish, Louisiana, known as

Critical Habitat Unit 1. FWS determined that the ephemeral wetlands

in Unit 1 contain all of the physical or biological features that

make    up     PCE   1.   Unit   1   was    included   in   the   designation


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      In preparing the final version of the EA, FWS considered Unit
1's landowners' comments, as well as the landowners' submissions
regarding the value of Unit 1 land.

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notwithstanding the fact that the dusky gopher frog has not

occupied the lands for decades.

          Procedural History of Consolidated Litigation

     The plaintiffs in these consolidated proceedings own all of

the forested property identified in the Rule as Unit 1. P&F Lumber

Company (2000), L.L.C., St. Tammany Land Co., L.L.C., and PF Monroe

Properties, L.L.C. (the Poitevent Landowners), as well as Markle

Interests, L.L.C. own undivided interests in 95% of the 1,544 acres

of land comprising Unit 1; and the remaining 5% (approximately 152

acres) of the land in Unit 1 is owned by Weyerhaeuser Company,

which also holds a timber lease on the balance of the 1,544 acres

comprising Unit 1; that lease is up in 2043.

     Seeking to invalidate the Rule insofar as it designates Unit

1 as critical habitat for the dusky gopher frog, Markle Interests

filed suit and, shortly thereafter, Poitevent Landowners and later

Weyerhaueuser Company followed suit.13    Each of the plaintiffs

allege that the Rule designating Unit 1 exceeds constitutional

authority under the Commerce Clause, U.S. Const. art. 1 § 8, cl. 3,

and that it violates the Endangered Species Act, 16 U.S.C. § 1531,

et seq.,14 the Administrative Procedure Act, 5 U.S.C. § 551, et

seq., and the National Environmental Policy Act, 42 U.S.C. § 4321,


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      In May 2013 the Court granted motions to consolidated these
three lawsuits.
     14
      Plaintiffs invoke the ESA's citizen suit provision, 16 U.S.C.
§ 1540(g).

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et seq.; they seek identical declaratory and injunctive relief.

Named as defendants are the U.S. Fish & Wildlife Service; Daniel M.

Ashe, in his official capacity as Director of U.S. Fish & Wildlife

Service; the U.S. Department of the Interior; and Sally Jewell, in

her official capacity as Secretary of the Department of the

Interior. On June 25, 2013 the Center for Biological Diversity and

Gulf Restoration Network were granted leave to intervene, as of

right, as defendants. On August 19, 2013 the federal defendants

lodged    the   certified   administrative    record    with   the    Court.15

Federal and intervenor defendants now request that the Court strike

certain    extra-record     evidence     submitted     by   the      Poitevent

Landowners.     And plaintiffs, federal defendants, and intervenor

defendants now seek summary judgment.

                          I. Standards of Review

     A. Summary Judgment

     Federal Rule of Civil Procedure 56 instructs that summary

judgment is proper if the record discloses no genuine issue as to

any material fact such that the moving party is entitled to

judgment as a matter of law.       No genuine issue of fact exists if

the record taken as a whole could not lead a rational trier of fact

to find for the non-moving party.        See Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).            A genuine issue


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      This   Court   imposed   an   October  2013   deadline   for
supplementing, or challenging, the administrative record; no party
requested to supplement the record.

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of fact exists only "if the evidence is such that a reasonable jury

could return a verdict for the non-moving party."         Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

     The Court emphasizes that the mere argued existence of a

factual dispute does not defeat an otherwise properly supported

motion. See id. Therefore, "[i]f the evidence is merely colorable,

or   is    not   significantly   probative,"   summary   judgment    is

appropriate.     Id. at 249-50 (citations omitted).   Summary judgment

is also proper if the party opposing the motion fails to establish

an essential element of his case.       See Celotex Corp. v. Catrett,

477 U.S. 317, 322-23 (1986).     In this regard, the non-moving party

must do more than simply deny the allegations raised by the moving

party.    See Donaghey v. Ocean Drilling & Exploration Co., 974 F.2d

646, 649 (5th Cir. 1992).        Rather, he must come forward with

competent evidence, such as affidavits or depositions, to buttress

his claims.      Id.   Hearsay evidence and unsworn documents that

cannot be presented in a form that would be admissible in evidence

at trial do not qualify as competent opposing evidence.      Martin v.

John W. Stone Oil Distrib., Inc., 819 F.2d 547, 549 (5th Cir.

1987); Fed.R.Civ.P. 56(c)(2).     Finally, in evaluating the summary

judgment motion, the Court must read the facts in the light most

favorable to the non-moving party.      Anderson, 477 U.S. at 255.




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     B. Administrative Procedure Act

     Where plaintiffs challenge the Secretary's administration of

the ESA -- in particular, a final rule designating critical habitat

-- the Administrative Procedure Act is the appropriate vehicle for

judicial review. See Bennett v. Spear, 520 U.S. 154, 174-75 (1997).

     The APA entitles any "person adversely affected or aggrieved

by agency action" to judicial review of "agency action made

reviewable by statute and final agency action for which there is no

other adequate remedy[.]"   5 U.S.C. § 702 (right of review); 5

U.S.C. § 704 (actions reviewable).     A reviewing court must "set

aside agency action, findings, and conclusions found to be ...

arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with the law [or] contrary to constitutional right,

power, privilege, or immunity[.]"       5 U.S.C. § 706(2).    This

standard is "highly deferential" and the agency's decision is

afforded a strong presumption of validity.   Hayward v. U.S. Dep't

of Labor, 536 F.3d 376, 379 (5th Cir. 2008); Miss. River Basin

Alliance v. Westphal, 230 F.3d 170, 175 (5th Cir. 2000)(Courts must

be particularly deferential to agency determinations made within

the scope of the agency's expertise).     The reviewing court must

decide whether the agency acted within the scope of its authority,

"whether the decision was based on a consideration of the relevant

factors and whether there has been a clear error of judgment." See

Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 415-16


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(1971)("inquiry into the facts is to be searching and careful,

[but] the ultimate standard of review is a narrow one"), overruled

on other grounds by Califano v. Sanders, 430 U.S. 99 (1977)).       The

Court may not "reweigh the evidence or substitute its judgment for

that of the administrative fact finder." Cook v. Heckler, 750 F.2d

391, 392 (5th Cir. 1985).     "Nevertheless, the agency must examine

the relevant data and articulate a satisfactory explanation for its

action including a 'rational connection between the facts found and

the choice made.'"    Motor Vehicle Mfrs. Ass'n v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29, 43 (1983).

                      II.    Scope of the Record

     With the exception of the Poitevent Landowners, all parties

agree that, in assessing the lawfulness of FWS's designation Rule,

this Court is confined to reviewing only the administrative record

assembled by FWS.     Indeed, "[r]eview of agency action under §

706(2)'s 'arbitrary or capricious' standard is limited to the

record before the agency at the time of its decision."              See

Luminant Generation Co., LLC v. EPA, 675 F.3d 917, 925 (5th Cir.

2012). Notwithstanding this core administrative law principle, the

Poitevent Landowners insist that the Court may consider certain

extra-record materials. The Court disagrees; because the Poitevent

Landowners   have   failed   to   demonstrate   unusual   circumstances

justifying a departure from the record, the Court finds that

granting the federal and intervenor defendants' motions to strike


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extra-record evidence is warranted for the following reasons.

       In reviewing agency action, the APA instructs a reviewing

court to "review the whole record or those parts of it cited by a

party[.]" 5 U.S.C. § 706.          "[T]he general presumption [is] that

review [of agency action] is limited to the record compiled by the

agency."     Medina County Environmental Action Ass'n v. Surface

Transp. Bd., 602 F.3d 687, 706 (5th Cir. 2010); Goonsuwan v.

Ashcroft, 252 F.3d 383, 391 n.15 (5th Cir. 2001)(citing Florida

Power & Light Co. v. Lorion, 470 U.S. 729, 743-44 (1985))("It is a

bedrock principle of judicial review that a court reviewing an

agency   decision    should      not   go    outside    of    the   administrative

record.").      Mindful that the Court's task in reviewing agency

action is not one of fact-finding but, rather, to determine whether

or not the administrative record supports agency action, "the focal

point for judicial review should be the administrative record

already in existence, not some new record made initially in the

reviewing court." Camp v. Pitts, 411 U.S. 138, 142 (1973). That is

an immensely cramped standard of review for courts.

       In support of their motion for summary judgment the Poitevent

Landowners      submit   the     following     extra-record         evidence:     (1)

Declaration of Edward B. Poitevent signed on December 9, 2013; (2)

Wall   Street    Journal   newspaper        article    dated    March     11,   2013,

entitled "Fishing for Wildlife Lawsuits"; (3) Washington Times

newspaper    article     dated    February     8,     2013,    entitled    "Vitter:


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Endangered Species Act's hidden costs"; (4) Poitevent's 60-day

notice of intent to sue letter dated October 19, 2012.16       The

federal and intervenor defendants move to strike these materials,

pursuant to Rule 12(f) of the Federal Rules of Civil Procedure;

they invoke the administrative record review principle that limits

the scope of judicial review of agency action to the record

compiled by the agency.

     The Court is unpersuaded to depart from the strict record

review presumption.    First, the Poitevent Landowners had ample

opportunity to request permission to supplement the administrative

record; the deadline to do so expired October 7, 2013. They simply

did not do so.17   Second, the Poitevent Landowners fall short of

demonstrating "unusual circumstances justifying a departure" from

the rule that judicial review is limited to the administrative

record. See Medina County, 602 F.3d at 706.     The Fifth Circuit

instructs that supplementing the administrative record may be


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      The Poitevent Landowners advance a litany of arguments urging
the Court to consider the proffered evidence: (1) judicial review
under the ESA's citizen suit provision and under the Commerce
Clause is not limited to the administrative record; (2) Rule 56
permits submission of such evidence; (3) the contested evidence is
in fact part of the administrative record or otherwise the Court
may take judicial notice of such evidence; (4) exceptions to APA
record review principles apply to warrant the Court's review of
this extra-record evidence; or (5) the FWS' trespass on their lands
require judicial review of the proffered evidence.
     17
      In fact, the Poitevent Landowners have never requested
permission to submit the materials they submit with their summary
judgment papers; they simply respond to the defendants' motions to
strike.

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permitted when:

      (1) the agency deliberately or negligently excluded
      documents that may have been adverse to its decision, ...
      (2) the district court needed to supplement the record
      with "background information" in order to determine
      whether the agency considered all of the relevant
      factors, or
      (3) the agency failed to explain administrative action so
      as to frustrate judicial review.

Id.   None of these factors are implicated here.          Accordingly, the

Court must confine the scope of its review to the administrative

record compiled by the agency and lodged with the Court.               The

federal and intervenor defendants' motions to strike the extra-

record, post-decisional materials are granted.18

                              III. Standing

      The Court turns to consider the threshold issue of standing.

To resolve this issue, the Court must be satisfied that the

plaintiffs have standing to challenge the Rule designating their

land as critical habitat.         The Court finds that they do.

      "Article   III   of   the   Constitution   limits   federal   courts'

jurisdiction to certain 'Cases' and 'Controversies.'"          Clapper v.

Amnesty Int'l USA, --- U.S. ---, 133 S.Ct. 1138, 1146 (2013). "One

element of the case-or-controversy requirement"           commands that a

litigant must have standing to invoke the power of a federal court.

See id. (citation omitted); see also National Federation of the


      18
       The administrative record review principle is not applicable
to the standing assessment; the Court will consider Mr. Poitevent's
Declaration for the purposes of assessing the Poitevent Landowners'
standing.

                                      19
Blind of Texas, Inc. v. Abbott, 647 F.3d 202, 208 (5th Cir. 2011).

The plaintiffs bear the burden of establishing standing under

Article III.       DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342

(2006); Miss. State Democratic Party v. Barbour, 529 F.3d 538, 545

(5th Cir. 2008).

      The doctrine of standing requires that the Court satisfy

itself that “the plaintiff has ‘alleged such a personal stake in

the outcome of the controversy’ as to warrant his invocation of

federal-court jurisdiction.” See Summers v. Earth Island Institute,

555 U.S. 488, 493 (2009); see also Doe v. Beaumont Independent

School Dist., 240 F.3d 462, 466 (5th Cir. 2001)(citing Warth v.

Seldin, 422 U.S. 490, 498 (1975)). “Standing to sue must be proven,

not merely asserted, in order to provide a concrete case or

controversy and to confine the courts’ rulings within our proper

judicial sphere.”       Doe v. Tangipahoa Parish School Bd., 494 F.3d

494, 499 (5th Cir. 2007).

     The     plaintiffs      must      demonstrate       the     “irreducible

constitutional minimum of standing”, which is informed by three

elements:    (1)   that   they     personally   suffered      some    actual   or

threatened “injury in fact” (2)        that is “fairly traceable” to the

challenged action of the defendants; (3) that likely “would be

redressed”   by    a   favorable    decision    in   Court.     See    Lujan   v.




                                       20
Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).19   The federal

and intervenor defendants challenge the plaintiffs' standing to

contest the Secretary's designation of their land as critical

habitat; in particular, the defendants contend that the plaintiffs

have failed to establish an actual or imminent injury.20   The Court

disagrees.

     "'Injury in fact [includes] economic injury, [as well as]

injuries to aesthetics and well-being.'" See Sabine River Auth. v.

U.S. Dept. of Interior, 951 F.2d 669, 674 (5th Cir. 1992) (quoting

Save Our Wetlands, Inc. V. Sands, 711 F.2d 634, 640 (5th Cir.

1983)). Notably, when the plaintiff is an object of the government

action at issue, “there is ordinarily little question that the

action” has caused him injury.     Lujan, 504 U.S. at 561-62.    In

fact, when the plaintiff challenging agency action is a regulated

party or an organization representing regulated parties, courts

have found that the standing inquiry is "self-evident."    See South

Coast Air Quality Management Dist. v. EPA, 472 F.3d 882, 895–96

(D.C.Cir. 2006)(an association of oil refineries had standing to



     19
       The actual injury requirement ensures that issues will be
resolved “not in the rarified atmosphere of a debating society, but
in a concrete factual context.” Valley Forge Christian College v.
Americans United for Separation of Church and State, Inc., 454 U.S.
464, 472 (1982).
     20
      The   defendants do not challenge whether the injury is fairly
traceable    to their critical habitat designation; nor do they
challenge    whether the injury is likely to be redressed by a
favorable   ruling.

                                 21
challenge an EPA regulation establishing air pollution standards

because it was “inconceivable” that the regulation “would fail to

affect ... even a single” member of the association); see also Am.

Petroleum Institute v. Johnson, 541 F. Supp. 2d 165, 176 (D.D.C. 2008)

("Regulatory influences on a firm's business decisions may confer

standing when, as here, they give rise to cognizable economic

injuries or even a 'sufficient likelihood' of such injuries.")

(citing Clinton v. City of New York, 524 U.S. 417, 432–33 (1998)

and Sabre, Inc. v. Dept. of Transp., 429 F.3d 1113, 1119 (D.C.Cir.

2005)(firm established standing to challenge regulation where it

was   “reasonably   certain   that   [the   firm's]    business   decisions

[would] be affected” by the regulation)).             This is so because

regulated parties are generally able to demonstrate that they

suffer some economic harm or other coercive effect by virtue of

direct regulation of their activities or property.

      These actual injuries are present here.         When the Rule became

final, the plaintiffs (each of whom are identically factually

situated as Unit 1 landowners) became regulated parties who are

subject to regulatory burdens flowing from federal substantive law,

the ESA.    The plaintiffs' sworn declarations are sufficient to

establish constitutional standing.21        Now that their land is an



      21
      At summary judgment, the plaintiff cannot rely on simply
“mere allegations,” but must “‘set forth’ by affidavit or other
evidence ‘specific facts.’” Lujan, 504 U.S. at 561 (quoting Fed. R.
Civ. P. 56(e)).

                                     22
object    of   agency   action,   plaintiffs    submit   that   they   are

economically harmed in that the value of their land has decreased

as a result of the agency designation; their business decisions

relative to their land are negatively impacted.22        Plaintiffs have

a personal stake in this controversy and have identified a concrete

injury that is actual, not hypothetical.        As a consequence of the

Rule's designation of Unit 1 as critical habitat, the plaintiffs'

pursuit of any development potential for the land clearly has been

impacted by the agency action.           Defendants' attack on standing

grounds seems utterly frivolous.          The defendants downplay these

economic harms and regulatory burdens as speculative,23 but the


     22
      Weyerhaeuser submits that the land it leases and owns has
been devalued; the "critical habitat designation ... has
immediately devalued the land within Unit 1 for commercial purposes
by bringing increased ... regulatory scrutiny under the Endangered
Species Act, thereby making it more difficult to sell, exchange, or
develop such lands." Markle and the Poitevent Landowners likewise
attribute to the Rule "negative economic impact[s]" and "a drastic
reduction in value [of the land]"; they submit that the designation
"limits the usability and saleability of the property" to their
detriment.
     23
      Defendants regard Weyerhaeuser's long-term timber lease as
precluding this Court from finding a concrete injury, arguing that
the land is essentially "locked up" for many years.            But
Weyerhaeuser's submission undermines the defendants' position.
Putting aside that Weyerhaeuser in fact owns part of the land in
addition to leasing the remainder, "Weyerhaeuser ... periodically
evaluate[s] its land portfolio to identify properties that have
greater value if placed in non-timber uses[; it] routinely leases
or sub-leases its forest lands for oil, gas and wind energy
development[; and it] frequently renegotiate[s] long-term timber
leases as conditions change."    Moreover, defendants' charge of
speculative injury is further undermined by the administrative
record and the Rule itself, which acknowledges that, due to the
presence of wetlands on Unit 1 (indeed, the reason underlying its

                                    23
Court finds that the plaintiffs have demonstrated actual, concrete

injuries.   See The Cape Hatteras Access Preservation Alliance v.

U.S. Dep't of Interior, 344 F. Supp. 2d 108, 117-18 (D.D.C.

2004)(business association that owned land within critical habitat

designated for watering piping plover had standing to challenge

designation due to its economic and recreational harms).

                  IV.   Constitutional Challenge

     The plaintiffs contend that federal regulation of Unit 1 under

the ESA constitutes an unconstitutional exercise of congressional

authority under the Commerce Clause. The defendants counter that

the ESA is consistently upheld as a constitutional exercise of the

Commerce Clause power and that each application of the ESA is not

itself subject to the same tests for determining whether the

underlying statute is a constitutional exercise of the Commerce

Clause. The Court agrees; the plaintiffs’ constitutional claim is

foreclosed by binding precedent.24


designation), development of this land is likely to trigger the
consultation process.
     24
      On a separate constitutional note, the plaintiffs do not
allege in their complaint that the Rule constitutes an
unconstitutional taking under the Fifth Amendment. But the
Poitevent Landowners argue in their papers that the critical
habitat designation is an unlawful "extortionate demand" that
constitutes "grand theft real estate." Assuming this is an attempt
to assert a Fifth Amendment takings claim, the defendants point out
that a takings claim must be brought in the Court of Federal
Claims. To be sure, this Court would lack jurisdiction over any
properly asserted takings claim under the circumstances. See
Chichakli v. Szubin, 546 F.3d 315, 317 (5th Cir. 2008)(vacating
district court's judgment as it related to takings claim and

                                24
        Article I, § 8 of the Constitution delegates to Congress the

power “[t]o make all laws which shall be necessary and proper for

carrying into execution” its authority to “regulate commerce...

among the several states.” Supreme Court cases have identified

three    general   categories     of    regulation   in   which      Congress   is

authorized to engage under its commerce power: (1) the channels of

interstate    commerce;     (2)   the    instrumentalities      of    interstate

commerce and persons or things in interstate commerce; and (3)

activities that substantially affect interstate commerce. See

Gonzales v. Raich, 545 U.S. 1, 16-17 (2005) (summarizing the

evolution of the commerce clause power). The ESA, whose provisions

and   applications   fall    under      the   category    of   activities   that

substantially affect interstate commerce, has consistently been

upheld as a constitutional exercise of congressional authority

under the Commerce Clause. Six Circuits, including the Fifth

Circuit, have rejected post-Lopez Commerce Clause challenges to

applications of the ESA. See San Luis & Delta-Mendota Water Auth.

V. Salazar, 638 F.3d 1163 (9th Cir. 2011); Alabama-Tombigbee Rivers

Coal. V. Kempthorne, 477 F.3d 1250 (11th Cir. 2007); Wyoming v.

U.S. Dep’t of Interior, 442 F.3d 1262 (10th Cir. 2006); GDF Realty

Investments, Ltd. V. Norton, 326 F.3d 622 (5th Cir. 2003); Rancho

Viejo, LLC v. Norton, 323 F.3d 1062 (D.C. Cir. 2003); Gibbs v.


observing that "Tucker Act grants Court of Federal Claims exclusive
jurisdiction over takings claims against the United States that
seek monetary damages in excess of $10,000").

                                        25
Babbitt, 214 F.3d 483 (4th Cir. 2000).              Plaintiffs mistakenly rely

on an earlier Supreme Court decision.

     Invoking United States v. Lopez, 514 U.S. 549, 558-59 (1995),

the plaintiffs argue that, because the ESA is an exercise of

Congress’s commerce power, actions under the ESA are “therefore

limited to the regulation of channels of interstate commerce,

things   in    interstate      commerce,     or    economic     activities    that

substantially affect interstate commerce.”                    Put plainly, they

insist that there is no frog on their Louisiana land and the Rule

exceeds the commerce power. The Court is tempted to agree, but for

the state of the law. By focusing on their individual circumstance,

plaintiffs misapprehend Lopez, which dealt with a challenge to an

underlying statute, not a challenge to an individual application of

a valid statutory scheme. Rejecting a similar argument, the Supreme

Court reiterated in Gonzales that “[w]here the class of activities

is regulated and that class is within the reach of federal power,

the courts have no power ‘to excise, as trivial, individual

instances’ of the class.’” 545 U.S. at 23 (quoting Perez v. United

States, 402 U.S. 146, 154 (1971)) (citations and internal quotation

marks omitted).       As odd as the Court views the agency action, this

Court is also without power.        Congress would have to act.

     The      Fifth   Circuit     has   observed       that     the   ESA    is   a

constitutionally       valid    statutory         scheme,   whose     “‘essential

purpose,’” according to Congress, "is ‘to protect the ecosystems


                                        26
upon which we and other species depend.’” GDF, 326 F.3d at 640

(citation omitted). Courts including the Fifth Circuit endorse the

proposition that, in the aggregate, the extinction of a species and

the resulting decline in biodiversity will have a predictable and

significant effect on interstate commerce. See, e.g., National

Ass'n of Home Builders v. Babbit, 130 F.3d 1041, 1053-54 (D.C. Cir.

1997).   Thus,    “when     ‘a     general        regulatory       statute      bears     a

substantial relation to commerce, the de minimis character of

individual     instances     arising       under       that      statute   is    of      no

consequence.’”        Gonzales, 545 U.S. at 17 (quoting Lopez, 514 U.S.

at 558). Aggregating the regulation of activities that adversely

modify   the   frog's     critical     habitat           with    the   regulation        of

activities     that     affect     other        listed    species'      habitat,        the

designation      of     critical     habitat        by     the     Secretary      is      a

constitutionally valid application of a constitutionally valid

Commerce Clause regulatory scheme. See                   GDF, 326 F.3d at 640-41.

                            V. Merits of the Rule

     The defendants urge the Court to sustain the Rule. The

plaintiffs contend that the Secretary's designation of Unit 1 as

critical habitat for the dusky gopher frog was arbitrary and in

violation of the ESA and the National Environmental Policy Act;

they urge the Court to set aside the Rule. They advance a litany of

arguments    challenging     the    merits        of     the    Rule   insofar    as    it

designates Unit 1 as critical habitat for the dusky gopher frog:


                                           27
Unit   1   does   not   meet    the   statutory   definition     of   "critical

habitat"; FWS unreasonably determined that Unit 1 is "essential"

for conservation of the frog; FWS arbitrarily failed to identify a

recovery plan for the species; FWS failed to consider all economic

impacts, and the method used in analyzing economic impacts was

flawed; and FWS acted unreasonably (and violated NEPA) in failing

to prepare an environmental impact statement. In addition to these

challenges, the Poitevent plaintiffs advance additional grounds for

condemning the Rule: the dusky gopher frog is not on the endangered

species list and FWS's unlawful trespass on its lands to view the

ponds invalidates the Rule.

       The Court first addresses those arguments concerning whether

the designation of Unit 1 satisfies the ESA's requirements, then

moves on to consider whether the FWS properly considered the

economic    impacts     of   the   designation;   and,   finally,     considers

whether    FWS    acted      unreasonably   in    failing   to    prepare    an

environmental impact statement.

       The Court has little doubt that what the government has done

is remarkably intrusive and has all the hallmarks of governmental

insensitivity to private property.               The troubling question is

whether the law authorizes such action and whether the government

has acted within the law.          Reluctantly, the Court answers yes to

both questions.




                                       28
                                     A.

     The Court first considers whether FWS's designation of Unit 1

satisfies    the   ESA's   substantive          requirements.     The     federal

defendants submit that FWS considered the best available science,

including the input of six experts, and the importance of ephemeral

ponds to the recovery of the frog, and thus reasonably determined

that Unit 1 is essential for the conservation for the species.

     1.     Did FWS reasonably determine that Unit 1 is "essential
            for the conservation of" the dusky gopher frog?

     The ESA expressly provides that unoccupied areas may be

designated as "critical habitat" if FWS determines that those areas

are "essential to the conservation of the species."                16 U.S.C. §

1532(5)(A)(ii).     Congress did not define "essential" but, rather,

delegated    to    the   Secretary        the    authority   to    make      that

determination.     Plaintiffs take issue with FWS's failure to define

"essential", but they do not dispute that FWS explained its

considerations for assessing what areas are essential.                  The Court

finds that FWS's determination seems reasonable and, therefore,

entitled to Chevron deference. See          Chevron, U.S.A., Inc. v. NRDC,

467 U.S. 837, 843 n. 9 (1984)("[T]he judiciary is the final

authority on issues of statutory construction and must reject

administrative     constructions      which       are   contrary    to      clear

congressional intent.").     The Court turns to consider the process

that preceded FWS's finding that Unit 1 is essential.

     FWS determined that Unit 1 is essential for the conservation

                                      29
of the dusky gopher frog.           It came to this conclusion after its

initial June 2010 proposed rule was criticized by all of the peer

reviewers as being inadequate to ensure conservation of the frog.

Given the alleged high risk of extinction due to localized threats,

like droughts, disease, and pollution, FWS agreed that the proposed

habitat was inadequate and began considering sites throughout the

frog's historical range.          FWS considered this specific criteria:

      (1) The historical distribution of the species; (2)
      presence of open-canopied, isolated wetlands; (3)
      presence of open-canopied, upland pine forest in
      sufficient quantity around each wetland location to allow
      for sufficient survival and recruitment to maintain a
      breeding population over the long term; (4) open-
      canopied, forested connectivity habitat between wetland
      and upland breeding sites; and (5) multiple isolated
      wetlands in upland habitat that would allow for the
      development of metapopulations.

Using scientific information on sites throughout the frog's range,

FWS could not identify any locations outside Mississippi that

contained      all   of   these    elements   or     even     all    three   PCEs.

Determining that it is easier to restore terrestrial habitat than

it   is   to    restore   or    create   breeding    ponds,    FWS    focused   on

identifying more ponds in potential sites throughout the species'

range.    FWS determined that the recovery of the frog "will not be

possible       without    the   establishment       of   additional      breeding

populations of the species.         Isolated, ephemeral ponds that can be

used as the focal point for establishing these populations are

rare, and this is a limiting factor in" the frog's recovery.                    77

Fed. Reg. at 35124.

                                         30
      After a peer reviewer suggested Unit 1 as a potential site,

that peer reviewer and a FWS biologist "assessed the habitat

quality of ephemeral wetlands in [Unit 1] and found that a series

of five ponds contained the habitat requirements for PCE 1."                 77

Fed. Reg. at 35123; AR2320.         The five ponds' close proximity to

each other meant that a metapopulation structure existed, which

increases   long-term    survival    and    recovery   of   the    frog;    FWS

determined that these ponds in Unit 1 "provide breeding habitat

that in its totality is not known to be present elsewhere within

the historic range."       77 Fed. Reg. at 35124.           Based on this

scientific information, FWS determined that Unit 1 is essential for

the conservation of the frog

      because it provides: (1) Breeding habitat for the [frog]
      in a landscape where the rarity of that habitat is a
      primary threat to the species; (2) a framework of
      breeding ponds that supports metapopulation structure
      important to the long-term survival of the [frog]; and
      (3) geographic distance from extant [frog] populations,
      which likely provides protection from environmental
      stochasticity.

Id.

      Notably,   the   plaintiffs    do    not   meaningfully     dispute   the

scientific and factual bases of FWS's "essential" determination.

Instead, the plaintiffs insist that Unit 1 can not be "essential"

for the conservation of the frog because the frog does not even

live there.   Indeed it hasn't been sighted there since the 1960s.

But the plaintiffs ignore the clear mandate of the ESA, which tasks

FWS with designating unoccupied areas as critical habitat. 16

                                     31
U.S.C. § 1532(5)(A)(ii). FWS's finding that the unique ponds

located     on   Unit    1    are   essential   for   the   frog's    recovery     is

supported by the ESA and by the record; it therefore must be upheld

in law as a permissible interpretation of the ESA, a statutory

scheme focused not only on conservation but also on recovery of an

endangered species.

       2.    Must unoccupied areas contain PCEs to be designated
             critical habitat?

       Plaintiffs similarly argue that FWS acted unreasonably in

designating Unit 1 as critical habitat because Unit 1 does not

contain all of the PCEs25 as required by the ESA.                  Their position

is, again, contrary to the ESA; plaintiffs equate what Congress

plainly differentiates: the ESA defines two distinct types of

critical habitat, occupied and unoccupied; only occupied habitat

must    contain    all       of   the   relevant   PCEs.     See     16   U.S.C.    §

1532(5)(A).26     Wise or unwise, that is for Congress to decide.


       25
      PCEs are those "physical and biological features that, when
laid out in the appropriate quantity and spatial arrangement to
provide for a species' life-history processes, are essential to the
conservation of the species." 77 Fed. Reg. at 35131.
       26
      (5)(A) The term "critical habitat" for a threatened or
endangered species means–
          (i) the specific areas within the geographical area
     occupied by the species, at the time it is listed in
     accordance with the provisions of section 1533 of this
     title, on which are found those physical or biological
     features (I) essential to the conservation of the species
     and   (II)   which   may   require   special   management
     considerations or protection; and
          (ii) specific areas outside the geographical area
     occupied by the species at the time it is listed in

                                          32
      Unit 1 is unoccupied.         Unlike occupied habitat, on which FWS

must find all of the physical or biological features called PCEs

(50 C.F.R. § 424.12(b)),27 Congress does not define unoccupied

habitat     by   reference     to   PCEs;    rather,   FWS    is    tasked    with

designating as critical unoccupied habitat so long as it determines

it is "essential for the conservation of the species" and "only

when a designation limited to its present range would be inadequate

to ensure the conservation of the species." 50 C.F.R. § 424.12(e).

As previously explained, FWS determined that the recovery of the

frog "will not be possible without the establishment of additional

breeding populations of the species" and it found that the ponds in

Unit 1 "provide breeding habitat that in its totality is not known

to   be    present      elsewhere   within   the   historic    range."28       The

plaintiffs       have    not   demonstrated     that   FWS's       findings   are



     accordance with the provisions of section 1533 of this
     title, upon a determination by the Secretary that such
     areas are essential for the conservation of the species.
16 U.S.C. § 1532(5)(A).
      27
      The cases invoked by plaintiffs in support of their argument
are distinguishable in that they relate to designations of occupied
habitat.
      28
      Federal defendants explain "[i]f the biggest threat to a
critically endangered species is the destruction of habitat, as is
the case with the frog, it does not make sense to hamstring FWS'
efforts to conserve the species by limiting the designation of
habitat to only those areas that contain optimal conditions for the
species. If such habitat was readily available, the frog would not
be reduced to 100 individuals."     Again, if this administrative
structure is to be changed, it is for Congress to do so.


                                        33
implausible.

        3.   Did FWS act unreasonably in failing to identify the point
             at which ESA protections will no longer be required for
             the dusky gopher frog?

        Before determining what is "essential" to the conservation of

the dusky gopher frog, the plaintiffs contend that FWS first must

identify the point at which the protections of the ESA will no

longer be required.      The defendants respond that the plaintiffs

improperly seek to import the recovery planning criteria into the

critical habitat designation process.          The Court agrees.

        The plaintiffs' argument runs counter to the plain language

and structure of the ESA, which provides that the requirement for

designating critical habitat (16 U.S.C. § 1533(a)(3)) is separate

from the requirement for preparing a recovery plan (16 U.S.C. §

1533(f)).     The ESA recognizes that FWS must designate critical

habitat, habitat that is "essential for the conservation of the

species", even if it does not know precisely how or when recovery

of a viable population will be achieved.         See Home Builders Ass'n

of Northern California v. U.S. Fish and Wildlife Service, 616 F.3d

983, 989 (9th Cir. 2010)(rejecting argument that FWS must first

identify the point at which the endangered species is considered

conserved before it designates critical habitat "because it lacks

legal support and is undermined by the ESA's text."); Arizona

Cattle Growers' Ass'n v. Kempthorne, 534 F. Supp. 2d 1013, 1025 (D.

Ariz.     2008)("While   tempting   in   its    logical   simplicity...the


                                    34
language     of    the    ESA    requires   a    point       of   conservation     to    be

determined in the recovery plan, not at the time of critical

habitat designation."), aff'd, Arizona Cattle Growers' Ass'n v.

Salazar, 606 F.3d 1160 (2010), cert. denied, 131 S. Ct. 1371

(2011).      Moreover, in directing FWS to assess what would be

"essential        for    the    conservation"     of     a    species,     it    did    not

explicitly require that FWS identify specific recovery criteria at

that time.        Notably, Congress imposed specific deadlines for the

designation of critical habitat, but included no such deadlines for

the preparation of a recovery plan.                    FWS's failure (as yet) to

identify how or when a viable population of dusky gopher frogs will

be achieved, as indifferent and overreaching by the government as

it appears, does not serve to invalidate its finding that Unit 1

was   part    of        the    minimum   required      habitat       for   the    frog's

conservation.29


      29
      Plaintiffs advance additional arguments that are clearly
rebutted by defendants and, most critically, by the ESA's mandate.
For example, plaintiffs contend that, to uphold the Rule as valid,
it can only apply to the general geographic area in which the frog
was found at the time the listing decision for it was made in 2001.
This is the same sort of argument already considered and foreclosed
by the ESA's clear text.      Plaintiffs seek to conflate listing
duties with critical habitat designation duties and, again, ignore
the plain statutory distinction between occupied and unoccupied
habitat. The plaintiffs also argue that the designation is
arbitrary because the agency should have exercised its discretion
to exclude Unit 1. But this failure to exclude argument -- to the
extent it is reviewable (see The Cape Hatteras Access Preservation
Alliance v. U.S. Dep't of Interior, 731 F. Supp. 2d 15, 29 (D.D.C.
2010)(Service's decision not to exclude areas from critical habitat
designation is not reviewable pursuant to the ESA)) seems better
directed to plaintiffs' challenge to FWS's consideration of the

                                            35
     4.   Did FWS designate critical habitat for a species that is
          not listed as endangered?

     The Poitevent Landowners argue that the "Mississippi" gopher

frog, not the dusky gopher frog, is the frog on the endangered

species list.    For this reason, they insist that the Rule is


economic impacts of designation.
     Finally, to the extent the plaintiffs suggest that the Rule is
overbroad, they fail to support their argument. The defendants
submit that all of Unit 1 meets statutory and regulatory criteria
for critical habitat; they base their decision on survey
methodologies, historical data, and the need for corridors between
breeding sites to maintain connectivity and gene flow. To put a
finer point on it, the methodology used for delineating the
critical habitat unit boundaries starts by using "digital aerial
photography using ArcMap 9.3.1 to map...[t]hose locations of
breeding sites outside the geographic area occupied by the species
at the time it was listed...that were determined to be essential
for the conservation of the species...." 77 Fed. Reg. 35134. FWS
looked to breeding sites deemed essential for conservation, the
ephemeral ponds. From these points, FWS created a buffer by using
"a radius of 621 m (2,037 ft)." Id. FWS "chose the value of 621
m...by using the median farthest distance movement (571 m (1,873
ft)) from data collected during multiple studies of the gopher
frog...and adding 50 m (164 ft) to this distance to minimize the
edge effects of the surrounding land use...." Id. FWS then "used
aerial imagery and ArcMap to connect critical habitat areas within
1,000 m (3,281 ft) of each other to create routes for gene flow
between breeding sites and metapopulation structure." Id. With
respect to Unit 1, FWS explained that "the last observation of a
dusky gopher frog in Louisiana was in 1965 in one of the ponds
within [Unit 1]," and that at least two of the ponds in this
immediate area were former breeding sites, and that the five ponds
close to each other could create a metapopulation. Id. at 35123-
25. It was from these ephemeral ponds that FWS applied its
methodology (621 m buffer and routes for gene flow) to create Unit
1's boundaries that resulted in the designation of 1,544 acres in
Unit 1. Scientific findings that are not credibly called into
question by plaintiffs' hopeful argument.        See Medina County
Environmental Action Ass'n v. Surface Transp. Bd., 602 F.3d 687,
699 (5th Cir. 2010("Where an agency's particular technical expertise
is involved, we are at our most deferential in reviewing the
agency's findings."). The Court defers, as it must under the law,
to FWS's methodology for delineating Unit 1's boundaries.

                                36
invalid.       The defendants counter that plaintiffs willfully ignore

FWS's taxonomic explanation in the Rule; its mere change of the

common and scientific name of the frog does not alter the fact that

the listed entity remains the same.               A review of the listing

leading up to the designation supports FWS's position.

        Recall that in 2001 FWS listed a distinct population segment

of the gopher frog subspecies and provided a scientific definition

of the listed frog.         During that listing process, FWS explained

that the population segment was so distinct that some biologists

believed it should be recognized as its own species, rather than

just a distinct population segment.            Because there was still some

dispute, FWS concluded that "[t]he scientific name, Rana capito

sevosa, will be used to represent this distribution of frogs [but]

if   the    name     Rana   sevosa   is    ultimately      accepted   by   the

herpetological scientific community, we will revise our List...to

reflect this change in nomenclature (scientific name)."               66 Fed.

Reg. 62993. Indeed, the scientific community recently did conclude

that the species it listed as a distinct population segment of the

Mississippi gopher frog in 2001 "is different from other gopher

frogs    and    warrants    acceptance    as   its   own   species...and   the

scientific name for the species was changed to Rana sevosa."                77

Fed. Reg. 35118. FWS also changed the common name of this distinct

population segment of the gopher frog from Mississippi gopher frog

to Dusky gopher frog.


                                     37
     Contrary to the plaintiffs' argument, FWS did not simply

arbitrarily "change its mind" about the name of the frog; rather,

it   adapted   changes   accepted    in   the   scientific   community.

Plaintiffs elevate form over substance; they fail to persuade that

the listed entity, this distinct population of gopher frogs, has

changed, or that FWS's taxonomic finding is unsupported.30 And, the

Court finds that FWS, acting in its expertise, considered the best

scientific evidence in effecting a change in the taxonomic and

common name of the frog.31

     5.    Does FWS's alleged "trespass" on Unit 1 invalidate the
           Rule?

     The Poitevent Landowners charge that FWS and a scientist

trespassed on its lands in March 2011; they took photos and, as a

result of the ponds discovered there, included Unit 1 in the Rule.

Although the Poitevent Landowners concede that Wyerhaeuser, a co-

owner and lessee, granted permission to the FWS agent and scientist

to enter the land, plaintiffs insist that such permission was

invalid.   Plaintiffs insist that invalidation of the Rule is the



     30
      And the record belies the plaintiffs' charge that they were
denied the opportunity to publicly comment on the name change. In
fact, the plaintiffs submitted comments on the revised proposed
rule, in which FWS asked for comments on the proposed name change.
76 Fed. Reg. 59774, 59775.
     31
      Cf. Alabama-Tombigee Rivers Coalition v. Kempthorne, 477 F.3d
1250, 1260 (11th Cir. 2007)("The Service's finding that the Alabama
sturgeon is a separate species is consistent with the [scientists']
position...on the question and is supported by...peer review[,] and
by the opinion of the Service's own experts.").

                                    38
proper      way    to   indemnify      them      for   their    trespass           damages.

Alternatively, the Poitevent Landowners suggest that the Court

apply the "civil equivalent" of the fruit-of-the-poisonous-tree

doctrine and exclude the evidence as illegally obtained.

        This argument was raised for the first time in their reply

papers, and the Poitevent plaintiffs fail to plead a trespass

claim.      They likewise fail to suggest how any such claim would be

timely, or why -- (assuming for the sake of argument) their

fictitious civil fruit-of-the-poisonous-tree doctrine applies --

FWS's     reliance      on     Weyerhaeuser's      good   faith      consent         (again

borrowing     from      exclusionary      rule    principles        in   the       criminal

context) would not validate the "trespass." The Court declines to

address the merits of this argument, which is not properly before

it,   has    not    been       properly   or    timely    raised,        and       seems    an

afterthought.

                                          B.

        The Court now turns to address what, in its view, is the most

compelling issue advanced by plaintiffs in challenging the validity

of the Rule:       FWS's economic analysis and, perhaps most troubling,

its   conclusion        that    the   economic    impacts      on   Unit       1    are    not

disproportionate.

        Plaintiffs contend that designating Unit 1 as critical habitat

is irrational.          Unit 1, they submit, provides no benefit to the

dusky gopher frog and the designation's estimated potential price


                                           39
tag for the landowners' damage is somewhere between $20.4 million

and   $33.9   million.         Defendants    answer     that   FWS     fulfilled   its

statutory obligation and applied the proper approach to consider

all potential economic impacts to Unit 1.                  Once again the Court is

restrained    by     a    confining    standard       of    review.      The   Court,

therefore, is not persuaded that FWS engaged a flawed economic

analysis or otherwise failed to consider all potential economic

impacts the designation would have on Unit 1.

      The decision to list a species as endangered is made without

reference to the economic effects of the listing decision.                     Not so

with critical habitat designations.                   The ESA directs that the

"Secretary shall designate critical habitat ... on the basis of the

best scientific data available and after taking into consideration

the economic impact ... of specifying any particular area as

critical habitat."             16 U.S.C. § 1533(b)(2).          Informed by these

considerations, FWS exercises its wide discretion in determining

whether to exclude particular areas. See 16 U.S.C. § 1533(b)(2)(the

Service "may exclude any area from critical habitat if [it]

determines    that       the    benefits    of   such      exclusion   outweigh    the

benefits of specifying such area as part of the critical habitat");

see also The Cape Hatteras Access Preservation Alliance v. U.S.

Dept. of Interior, 731 F. Supp. 2d 15, 29-30 (D.D.C. 2010)(citing

Arizona Cattle Growers' Ass'n v. Kempthorne, 534 F. Supp. 2d 1013,

1032 (D.Ariz. 2008)).           But the Service is precluded from excluding


                                            40
areas   from    a   designation   if    it    determines      that   "failure    to

designate such area as critical habitat will result in extinction

of the species."      16 U.S.C. § 1533(b)(2).

      The   plaintiffs    contend      that   FWS   failed     to    consider   all

economic impacts of the critical habitat designation.                     But, in

fact, the record establishes that FWS considered several potential

economic impacts. The record shows that FWS endeavored to consider

any economic impacts that could be attributable to the designation,

and that plaintiffs were given (and indeed availed themselves of)

the opportunity to participate in the process for evaluating

economic impacts. The Court finds that FWS fulfilled its statutory

obligation.     The outcome seems harsh, but it is not unlawful under

the   present   administrative      process     and    this   Court's    confined

standard of review.

      Nevertheless, the plaintiffs object to FWS's methods and

findings on the issue of the designations's economic impact.

Plaintiffs challenge FWS's utilization of the baseline method for

considering potential economic impacts, and argue that, no matter

what method is used, FWS arbitrarily concluded that "[o]ur economic

analysis did not identify any disproportionate costs that are

likely to result from the designation."               Although the plaintiffs'

dispute as to the appropriate method for considering economic

impacts is unfounded, their challenge to FWS's ultimate conclusion

invites rigorous scrutiny.


                                        41
        As an initial matter, FWS permissibly used the baseline

approach in conducting the economic analysis (EA).                   Under this

approach, the impacts of protecting the dusky gopher frog that will

occur regardless of the critical habitat designation (i.e., the

burdens imposed by simply listing the frog) are treated as part of

the regulatory baseline and are not factored into the economic

analysis of the effects of the critical habitat designation; the

approach calls for a comparison of "the world with the designation

... to the world without it."                    See The Cape Hatteras Access

Preservation Alliance v. U.S. Dept. of Interior, 344 F. Supp. 2d

108, 127 (D.D.C. 2004); see also Cape Hatteras II, 731 F. Supp. 2d

15, 30 (D.D.C. 2010).32

        Consideration of economic impacts is all that is required.

FWS   fulfilled         this    statutory   mandate   by   identifying   baseline

economic impacts.              And the final EA quantified impacts that may

occur        in   the   20   years   following    designation,   analyzing   such

economic impacts of designating Unit 1 based on the following three

hypothetical scenarios: (1) development occurring in Unit 1 would

avoid impacts to jurisdictional wetlands and, thus, would not

trigger ESA Section 7 consultation requirements; (2) development



        32
      To the extent the plaintiffs object to the baseline approach
and instead advocate for the co-extensive approach to assessing
economic impacts, the plaintiffs fail to explain how such an
approach changes the economic analysis. The defendants contend,
and the Court agrees, that the baseline and co-extensive methods of
analyzing potential economic impacts yield the same results.

                                            42
occurring in Unit 1 would require a permit from the Army Corps of

Engineers due to potential impacts to jurisdictional wetlands,

which would trigger ESA Section 7 consultation between the Corps

and FWS; and FWS would work with landowners to keep 40% of the unit

for   development   and   60%   managed   for   the   frog's   conservation

("present value incremental impacts of critical habitat designation

due to the lost option for developing 60 percent of Unit 1 lands

are $20.4 million"); and (3) development occurring would require a

federal permit, triggering ESA Section 7 consultation, and FWS

determines that no development can occur in the unit ("present

value impacts of the lost option for development in 100 percent of

the unit are $33.9 million").33      Because the EA "did not identify

any disproportionate costs that are likely to result from the

designation[,] the Secretary [did] not exercis[e] his discretion to

exclude any areas from this designation of critical habitat for the

dusky gopher frog based on economic impacts."          77 Fed. Reg. 35141.

      The plaintiffs do not take issue with these projected costs

but, rather, insist that FWS's conclusion -- its decision not to

exclude Unit 1 from the designation in light of what the potential

economic impacts in the event Section 7 consultation is triggered

-- is arbitrary.     This is so, plaintiffs contend, because their

land is the only land designated that faces millions of dollars in


      33
      In preparing the final version of the EA, FWS considered Unit
1's landowners' comments, as well as the landowners' submissions
regarding the value of Unit 1 land.

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lost    development    opportunity    if   the   consultation   process   is

triggered.    How can FWS say that the economic impacts are not

disproportionate?

       FWS defends its determination in the Rule: "considerable

uncertainty exists regarding the likelihood of a Federal nexus for

development activities [in Unit 1]."        The record confirms that FWS

considered potential economic impacts and exercised its discretion,

considered potential costs associated with Section 7 consultation,

and determined that these economic impacts to Unit 1 were not

disproportionate.34 All that the ESA requires. The Court, with its

somewhat paralyzing standard of review, defers to the agency's

expertise in its methods for cost projections and its refusal to

except Unit 1 from the designation.35        Only Congress can change the

regime of which plaintiffs understandably complain.

                                     C.

       Finally, the Court considers whether the Secretary acted

arbitrarily    in     failing   to   prepare     an   environmental   impact


       34
      The alleged arbitrariness of the "not disproportionate"
determination is undermined by the uncertain potential for
development. The ESA only requires that the Service consider all
potential costs, which it has done.          Although this "not
disproportionate" conclusion is discomforting it, again, is harsh
but not invalid as the law exists.
       35
      As always, the Court is mindful of its scope of its
constrained review. "If the agency's reasons and policy choices
conform to minimal standards of rationality, then its actions are
reasonable and must be upheld." Luminant Generation Co. LLC v.
U.S. E.P.A., 714 F.3d 841, 850 (5th Cir. 2013)(quoting Tex. Oil &
Gas Ass'n v. U.S. E.P.A., 161 F.3d 923, 933 (5th Cir. 1998)).

                                      44
statement.

     The plaintiffs submit that the defendants’ failure to complete

an Environmental Impact Statement concerning the critical habitat

designation of Unit 1 violates the National Environmental Policy

Act of 1969, 42 U.S.C. §§ 4321, et seq., a statute that serves the

dual purposes of informing agency decisions as to the significant

environmental   effects   of   proposed   major   federal   actions   and

ensuring that relevant information is made available to the public.

See Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349

(1989). The defendants counter that, pursuant to long-standing FWS

policy, an EIS is simply not required when designating critical

habitat.36   They are correct.

     In passing NEPA, Congress declared that it is the continuing

policy of the federal government to “create and maintain conditions

under which man and nature can exist in productive harmony, and

fulfill the social, economic, and other requirements of present and



     36
      The defendants also argue that the plaintiffs lack prudential
standing to bring a NEPA claim because their claims of economic
harm fall outside the zone of environmental interests protected by
NEPA. Indeed, the Court agrees that prudential standing for NEPA
claims is doubtful, given the economic nature of the harm asserted
by the plaintiffs and the environmental interests protected by
NEPA. See Nevada Land Action Ass'n v. U.S. Forest Serv., 8 F.3d
713, 716 (9th Cir. 1993) (“The purpose of NEPA is to protect the
environment, not the economic interests of those adversely affected
by agency decisions. Therefore a plaintiff who asserts purely
economic injuries does not have standing to challenge an agency
action under NEPA”) (citations omitted). Nevertheless, the Court
considers whether an EIS is required.


                                  45
future generations of Americans.” 42 U.S.C. § 4331. Specifically

listed as having a “profound influence” on this natural environment

that Congress sought to protect are population growth, high-density

urbanization, industrial expansion, resource exploitation, and new

and expanding technological advances. Id. To accomplish these

objectives, NEPA requires that an agency prepare a comprehensive

environmental impact statement (EIS) for "major Federal actions

significantly affecting the quality of the human environment."                   42

U.S.C.    §    4332(2)(c).    "Notably,     the       NEPA   statutory     framework

provides no substantive guarantees; it prescribes adherence to a

particular process, not the production of a particular result."

Spiller v. White, 352 F.3d 235, 238 (5th Cir. 2003)(NEPA "does not

prohibit the undertaking of federal projects patently destructive

of the environment" but, rather, requires "only that [an agency]

make its decision to proceed with the action after taking a 'hard

look at environmental consequences.'").

   Congress does not expressly mandate preparation of an EIS for

critical habitat designations.              Nevertheless, through tortured

reasoning, the plaintiffs assert that an EIS was required because

NEPA demands an EIS for “major Federal actions significantly

affecting the quality of the human environment” and the critical

habitat       designation    here   involves      a    change   to   the   physical

environment. 42 U.S.C. § 4332(C). Tossing aside the conservation

objectives achieved by critical habitat designations, plaintiffs go


                                       46
on to detail the modifications to Unit 1 that would make it optimal

habit for the frog, namely regular burning of the land and planting

different trees.        However, the ESA statutory scheme makes clear

that FWS has no authority to force private landowners to maintain

or improve the habitat existing on their land.37 77 Fed. Reg. 35118,

35121, 35128. FWS cannot and will not instruct the plaintiffs to

burn    their   land,   thus,       the    PCEs   serve   as   nothing     more   than

descriptors of ideal habitat.              Plaintiffs invoke Catron County Bd.

Of Com’rs, New Mexico v. U.S. Fish and Wildlife Serv., 75 F.3d

1429, 1436-39 (10th Cir. 1996). There, the Tenth Circuit determined

that designation of critical habitat would harm the environment by

limiting the county’s ability to engage in flood control efforts.

Id.    Unlike the critical habitat designation in that case -- where

the environmental impact of the critical habitat designation "will

be    immediate   and       disastrous"      --   the     critical   habitat      Rule

designating     Unit    1    does    not    effect   changes    to   the    physical

environment.

       Moreover, the Ninth Circuit has expressly held that NEPA does

not apply to critical habitat designations. Douglas County v.

Babbitt, 48 F.3d 1495, 1501-08 (9th Cir. 1995)(considering issue of



       37
      The only “bite” to the statute is the consultation
requirement, which simply requires that, when a private party’s
action has a federal nexus, the federal agency authorizing such
action must first consult with the Secretary. 16 U.S.C. §
1536(a)(2). Activities such as timber management lack a federal
nexus and are therefore exempt.

                                            47
first impression, and determining that NEPA does not apply to the

Secretary's decision to designate critical habitat under the ESA).

In so holding, the Ninth Circuit articulated three reasons why

critical habitat designations are not subject to NEPA: (1) the ESA

displaced the procedural requirements of NEPA with respect to

critical habitat designation; (2) NEPA does not apply to actions

that do not alter the physical environment; and (3) critical

habitat designation serves the purposes of NEPA by protecting the

environment from harm due to human impacts.       Id.    Three logical

reasons. The Fifth Circuit agrees that NEPA itself provides, in no

uncertain terms, that alteration of the physical environment is a

prerequisite for NEPA application and the need to prepare an EIS.38

See Sabine River Authority v. U.S. Dept. of Interior, 951 F.2d 669,

679   (5th   Cir.   1992)("[T]he   acquisition   of     the   [negative

conservation] easement by [FWS] did not effectuate any change to

the environment which would otherwise trigger the need to prepare

an EIS."); see also City of Dallas v. Hall, 562 F.3d 712, 721-23

(5th Cir. 2009)(setting an acquisition boundary for a wildlife

refuge did not alter the physical environment and therefore did not

require the preparation of an EIS).     For all of these reasons, the


      38
      The Fifth Circuit has not directly addressed whether NEPA
applies to critical habitat designations.      Based on competing
authority within the Fifth Circuit, one district court has applied
the arbitrary and capricious standard to decisions not to prepare
EISs.   See Center for Biological Diversity v. U.S. Fish and
Wildlife Service, 202 F. Supp. 2d 594, 646-48 (W.D.Tex. 2002)
(citations omitted).

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Court finds that the Secretary was not required to prepare an EIS

before designating Unit 1 as critical habitat.39

                                    ***

     Accordingly, IT IS ORDERED: that the defendants' motions to

strike extra-record evidence are GRANTED; the defendants' motions

for summary judgment are DENIED in part (insofar as they challenge

the plaintiffs' standing) and GRANTED in part (insofar as the Rule

including Unit 1 in its critical habitat designation is not

arbitrary); and the plaintiffs' cross-motions are GRANTED in part

(plaintiffs     have   standing)   and    DENIED   in   part   (the   Rule   is

sustained).40

                             New Orleans, Louisiana, August 22, 2014



                                   ______________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




     39
      As defendants acknowledge, there is nothing to preclude
preparation of an EIS if or when changes to the physical
environment become required, if consultation is triggered.
     40
      The Court is compelled to remark on the extraordinary scope
of the ESA, the Court's limited scope of review on the matters
presented, and the reality that what plaintiffs truly ask of the
Court is to embrace or countenance a broad substantive policy: they
effectively ask the Court to endorse -- contrary to the express
terms and scope of the statute -- a private landowner exemption
from unoccupied critical habitat designations. This, the Third
Branch, is the wrong audience for addressing this matter of policy.

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